Case 14-50331-gs Doc1-1 Entered 03/04/14 15:27:53 Page 1 of 32

Bl (Official Form 104/13)

 

United States Bankruptcy Court

District of Nevada

Voluntary Petition

 

 

AT EMERALD, LLC

Name of Debtor (if individual, enter Last, First, Middle):

Name of Joint Debtor (Spouse) (Last, First, Middle):

 

(include married, maiden, and trade names):

All Other Names used by the Debtor in the last 8 years

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

(if more than one, state all)

XXX-XX-XXXX

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (TIN) No./Complete EIN

(if more than one, state all)

 

7725 PEAVINE PEAK COURT
RENO, NV

Street Address of Debtor (No. and Street, City, and State):

Street Address of Joint Debtor (No. and Street, City, and State):

 

 

 

 

 

 

 

 

 

 

 

 

ZIP Code ZIP Code
89523
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
WASHOE
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address):
ZIP Code ZIP Code
Location of Principal Assets of Business Debtor SARASOTA VAULT
(if different from street address above): 640 SOUTH WASHINGTON BLVD., STE. 125
SARASOTA, FL 34236
Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box) (Check one box) the Petition is Filed (Check one box)
Oo Individual (includes Joint Debtors) OO Health Care Business OO Chapter 7
See Exhibit D on page 2 of this form. oO Single Asset Real Estate as defined DO Chapter 9 O Chapter 15 Petition for Recognition
a Corporation (includes LLC and LLP) o rR it wsC § 101 (51B) WH Chapter 11 of a Foreign Main Proceeding
if othe aro the ab 6 oO Stockbroker DO Chapter 12 0 Chapter 15 Petition for Recognition
er ebtor Is not one o. e above entities, 1 1 4
check this box and state type of entity below.) 0 Commodity Broker D1 Chapter 13 of'a Foreign Nonmain Proceeding
0 Clearing Bank
Chapter 15 Debtors Mi Other Nene of nes
: ini . Tax-Exempt Entity eck one Dox.
Country of debtor's center of main interests: (Check box, if applicable) GF Debts are primarily consumer debts, BB Debts are primarily
Each country in which a foreign proceeding 1 Debtor is a tax-exempt organization de fined in 11 U.S.C. § 101(8) as business debts.
by, regarding, or against debtor is pending: under Title 26 of the United States incurred by an individual primarily for
Code (the Internal Revenue Code). a personal, family, or household purpose."

 

Filing Fee (Check one box)
W@ Full Filing Fee attached

Form 3A,

QO Filing Fee waiver requested (applicable to chapter 7

attach signed application for the court's consideration. See Official Form 3B.

Check one box:

Chapter 11 Debtors

(1 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

co oo, HB Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

11 Filing Fee to be paid in installments (applicable to individuals only). Must Check if:
attach signed application for the court's consideration certifying that the :

debtor is unable to pay fee except in installments. Rule 1006(b). See Official 1 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)

are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).

 

Check all applicable boxes:

individuals only). Must C1 A plan is being filed with this petition.

 

U Acceptances of the plan were solicited prepetition from one or more classes of creditors,
in accordance with 11 U.S.C. § 1126(b).

 

Statistical/Administrative Information *** ALAN R. SMITH, ESQ. SBN 1449 *** THIS SPACE IS FOR COURT USE ONLY
i Debtor estimates that funds will be available for distribution to unsecured creditors.

CJ Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
there will be no funds available for distribution to unsecured creditors.

 

Estimated Number of Creditors

oO oO Oo Oo oO O

oO

 

1- 50- 100- 200- 1,000- 5,001- 10,001- 25,001- 50,001- OVER
49 99 199 999 5,000 10,000 25,000 50,000 100,000 100,000
Estimated Assets
oO
$0 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 + $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion
million million million million million

 

Estimated Liabilities

 

30 to $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001!  $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,000 to $I to $10 to $50 to $100 to $500 to $1 billion $1 billion

million million million million million

 

 

 
Case 14-50331-gs Doc1-1 Ente
B1 (Official Form 1)(04/13)

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Voluntary Petition
(This page must be completed and filed in every case)

Name of Debtor(s):
AT EMERALD, LLC

 

All Prior Bankruptcy Cases Filed Within Last

8 Years (If more than two, attach additional sheet)

 

 

Location Case Number: Date Filed:
Where Filed: - None -

Location Case Number: Date Filed:
Where Filed:

 

Pending Bankruptcy Case Filed by any Spouse, Partner, or

Affiliate of this Debtor (If more than one, attach additional sheet)

 

 

 

 

(To be completed if debtor is required to file periodic reports (e.g.,
forms 10K and 10Q) with the Securities and Exchange Commission
pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
and is requesting relief under chapter 11.) ,

O Exhibit A is attached and made a part of this petition.

Name of Debtor: Case Number: Date Filed:
- None -
District: Relationship: Judge:
Exhibit A Exhibit B

(To be completed if debtor is an individual whose debts are primarily consumer debts.)

I, the attorney for the petitioner named in the foregoing petition, declare that I
have informed the petitioner that [he or she] may proceed under chapter 7, 11,
12, or 13 of title 11, United States Code, and have explained the relief available
under each such chapter. I further certify that I delivered to the debtor the notice
required by 11 U.S.C. §342(b).

 

Signature of Attorney for Debtor(s) (Date)

 

 

Does the debtor own or have possession of any property that poses or is alleged to
OO Yes, and Exhibit C is attached and made a part of this petition.

BB No.

Exhibit C

pose a threat of imminent and identifiable harm to public health or safety?

 

If this is a joint petition:

Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

0 Exhibit D completed and signed by the debtor is attached and made a part of this petition.

O Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

 

Information Regarding the Debtor - Venue
(Check any applicable box)

 

 

 

after the filing of the petition. °

 

H Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
i} There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
oO Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
this District, or has no principal place of business or assets in the United States but is a defendant in an action or
proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
sought in this District.
Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes)
oO Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)
(Name of landlord that obtained judgment)
(Address of landlord)
Oo Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
o Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period

 

Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).

 
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BI (Official Form 1)(04/13)

 

Voluntary Petition

(This page must be completed and filed in every case)

Name of Debtor(s):
AT EMERALD, LLC

 

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this
petition is true and correct.

{If petitioner is an individual whose debts are primarily consumer debts and
has chosen to file under chapter 7] I am aware that I may proceed under
chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
available under each such chapter, and choose to proceed under chapter 7.
[If no attorney represents me and no bankruptcy petition preparer signs the
petition] I have obtained and read the notice required by 11 U.S.C. §342(b).

I request relief in accordance with the chapter of title 11, United States Code,
specified in this petition.

Xx

 

Signature of Debtor

xX

 

Signature of Joint Debtor

 

Telephone Number (If not represented by attorney)

 

Date

Signatures

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition
is true and correct, that I am the foreign representative of a debtor in a foreign
proceeding, and that I am authorized to file this petition.

(Check only one box.)
C7 I request relief in accordance with chapter 15 of title 11. United States Code.
Certified copies of the documents required by 11 U.S.C. §1515 are attached.

OO Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
of title 11 specified in this petition. A certified copy of the order granting
tecognition of the foreign main proceeding is attached.

Xx

 

Signature of Foreign Representative

 

Printed Name of Foreign Representative

 

Date

 

 

Signature of Attorney*

X _/s/ ALAN R. SMITH, ESQ.
Signature of Attorney for Debtor(s)

ALAN R. SMITH, ESQ. SBN 1449
Printed Name of Attorney for Debtor(s)

THE LAW OFFICES OF ALAN R. SMITH
Firm Name

505 RIDGE STREET

RENO, NV 89501-1719

 

Address

Email: mail@asmithlaw.com
(775) 786-4579 Fax: (775) 786-3066

Telephone Number
March 5, 2014
Date

*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the
information in the schedules is incorrect.

 

 

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this
petition is true and correct, and that I have been authorized to file this petition
on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United
States Code, specified in this petition.
X_/s! ANTHONY THOMAS
Signature of Authorized Individual
ANTHONY THOMAS
Printed Name of Authorized Individual
MANAGING MEMBER
Title of Authorized Individual
March 5, 2014
Date

 

 

 

 

 

 

Signature of Non-Attorney Bankruptcy Petition Preparer

I declare under penalty of perjury.that: (1) I am a bankruptcy petition
preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document
and the notices and information required under 11.U.S.C. §§ 110(b),
110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, I have given the debtor notice
of the maximum amount before preparing any document for filing for a
debtor or accepting any fee from the debtor, as required in that section.
Official Form 19 is attached.

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social-Security number (if the bankrutpcy petition preparer is not
an individual, state the Social Security number of the officer,
principal, responsible person or partner of the bankruptcy petition
preparer.)(Required by 11 U.S.C. § 110.)

 

Address

X

 

 

Date

Signature of bankruptcy petition preparer or officer, principal, responsible
person,or partner whose Social Security number is provided above.

Names and Social-Security numbers of all other individuals who prepared or
assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

If more than one person prepared this document, attach additional sheets
conforming to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of
title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. $156.

 

 
 

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B4 (Official Form 4) (12/07)

United States Bankruptcy Court

 

 

 

 

 

District of Nevada
Inre _AT EMERALD, LLC Case No. 14-50331
Debtor(s) Chapter 11
LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
persons who come within the definition of "insider" set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest unsecured claims.
If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).
(1) (2) (3) (4) (5)
Name of creditor and complete Name, telephone number and complete Nature of claim (trade | Indicate if claim is | Amount of claim
mailing address including zip mailing address, including zip code, of debt, bank loan, contingent, [if secured, also
code . employee, agent, or department of creditor | government contract, | unliquidated, state value of
familiar with claim who may be contacted etc.) disputed, or security]
subject to setoff
SARASOTA VAULT SARASOTA VAULT UNPAID RENT 1,200.00
640 SOUTH WASHINGTON | 640 SOUTH WASHINGTON BVD., STE.
BVD., STE. 125 125
SARASOTA, FL 34236 SARASOTA, FL 34236

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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B4 (Official Form 4) (12/07) - Cont.
Inre AT EMERALD, LLC

Debtor(s)

LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

Case No.

(Continuation Sheet)

14-50331

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(1) (2) (3) (4) (5)

Name of creditor and complete Name, telephone number and complete Nature of claim (trade | Indicate if claim is | Amount of claim
mailing address including zip mailing address, including zip code, of debt, bank loan, contingent, [if secured, also
code employee, agent, or department of creditor | government contract, | unliquidated, state value of

familiar with claim who may be contacted etc.) disputed, or security]

subject to setoff
DECLARATION UNDER PENALTY OF PERJURY
ON BEHALF OF A CORPORATION OR PARTNERSHIP
I, the MANAGING MEMBER of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing list and that it is true and correct to the best of my information and belief.
Date March 5, 2014 Signature /s/ ANTHONY THOMAS
ANTHONY THOMAS

MANAGING MEMBER

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

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Best Case Bankruptcy

 
   

 

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B 6 Summary (Official Form 6 - Summary) (12/13)

In re

United States Bankruptcy Court

 

 

 

District of Nevada
AT EMERALD, LLC Case No. 14-50331
Debtor
Chapter, 11
SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,

B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.

Add the amounts of ali claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.

 

  
     
   

 

  
 

 

   

 

 

 

 

   

 

 

 

  

 

 

 

 

 

NAME OF SCHEDULE ATTACHED | NO. OF ASSETS LIABILITIES
(YES/NO) | SHEETS
A - Real Property Yes 1 0.00
B - Personal Property Yes 3 200,000,200.00
C - Property Claimed as Exempt No 0
D - Creditors Holding Secured Claims Yes 1 540,000.00
E - Creditors Holding Unsecured Yes 4
Priority Claims (fotal of Claims on Schedule E)
F - Creditors Holding Unsecured Yes 1,200.00
Nonpriority Claims
G - Executory Contracts and Yes
Unexpired Leases
H - Codebtors Yes
I- Current Income of Individual No
Debtor(s)
J - Current Expenditures of Individual No

Debtor(s)

 

 

Total Number of Sheets of ALL Schedules

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Total Assets 200,000,200.00

Total Liabilities 541,200.00

 

 

Best Case Bankruptcy
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B 6 Summary (Official Form 6 - Summary) (12/13)

United States Bankruptcy Court
District of Nevada

In re AT EMERALD, LLC Case No. 14-50331
Debtor

 

Chapter. 11

STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
a case under chapter 7, 11 or 13, you must report all information requested below.

1 Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
report any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.
Summarize the following types of liabilities, as reported in the Schedules, and total them.

 

Type of Liability Amount

 

Domestic Support Obligations (from Schedule E)

 

Taxes and Certain Other Debts Owed to Governmental Units
(from Schedule E)

Claims for Death or Personal Injury While Debtor Was Intoxicated
(from Schedule E) (whether disputed or undisputed)

 

 

Student Loan Obligations (from Schedule F)

 

Domestic Support, Separation Agreement, and Divorce Decree
Obligations Not Reported on Schedule E

 

Obligations to Pension or Profit-Sharing, and Other Similar Obligations
(from Schedule F)

 

TOTAL

 

State the following:

 

Average Income (from Schedule I, Line 12)

 

Average Expenses (from Schedule J, Line 22)

 

Current Monthly Income (from Form 22A Line 12; OR,
Form 22B Line 11; OR, Form 22C Line 20 )

 

 

 

State the following:

1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
column

2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
column

3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
PRIORITY, IF ANY" column

 

 

 

 

4. Total from Schedule F

 

5. Total of non-priority unsecured debt (sum of 1, 3, and 4)

 

 

 

 

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BOA (Official Form 6A) (12/07)

In re AT EMERALD, LLC Case No. 14-50331
Debtor

 

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J." or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

 

 

 

Husband reuirent Value of
ipti i Debtor’ i , ebtor's Interest in
Description and Location of Property Nature of Peer Wile, or Property, without . Amount 0 f
Community Deducting any Secured

Claim or Exemption

None
Sub-Total > 0.00 (Total of this page)
Total > 0.00

0 continuation sheets attached to the Schedule of Real Property (Report also on Summary of Schedules)

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B6B (Official Form 6B) (12/07)

In re AT EMERALD, LLC

 

Debtor

Case No. 14-50331

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place

an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

10.

2

Type of Property

Cash on hand

Checking, savings or other financial
accounts, certificates of deposit, or
shares in banks, savings and loan,
thrift, building and loan, and
homestead associations, or credit
unions, brokerage houses, or
cooperatives.

Security deposits with public
utilities, telephone companies,
landlords, and others.

Household goods and furnishings,
including audio, video, and
computer equipment.

Books, pictures and other art
objects, antiques, stamp, coin,
record, tape, compact disc, and
other collections or collectibles.

Wearing apparel.

Furs and jewelry.

Firearms and sports, photographic,
and other hobby equipment.

Interests in insurance policies.
Name insurance company of each
policy and itemize surrender or
refund value of each.

Annuities. Itemize and name each
issuer.

mZOZ

<

WELLS FARGO
CHECKING
XXXX6516

ONE EMERALD
BASED ON APPRAISAL VALUE EXCEEDS
$200,000,000.00

x

continuation sheets attached to the Schedule of Personal Property

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Description and Location of Property

Husband,

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and

Current Value of

Wife, Debtor's Interest in Property,

Joint, or

without Deducting any

Community Secured Claim or Exemption

_ 200.00

200,000,000.00

 

Sub-Total >
(Total of this page)

200,000,200.00

Best Case Bankruptcy
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B6B (Official Form 6B) (12/07) - Cont.

In re AT EMERALD, LLC Case No. 14-50331
Debtor

 

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

Husband, Current Value of
Type of Property Description and Location of Property Nine or Debtor's Interest dine os

Community Secured Claim or Exemption

 

<x} mMZ0Zz

11. Interests in an education IRA as
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately the
record(s) of any such interest(s).

11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or X
other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorporated X
and unincorporated businesses.
Itemize,

14, Interests in partnerships or joint xX

ventures. Itemize,

15. Government and corporate bonds Xx
and other negotiable and
nonnegotiable instruments.

16. Accounts receivable. X

17. Alimony, maintenance, support, and X
property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to debtor X
including tax refunds. Give particulars.

19. Equitable or future interests, life xX
estates, and rights or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

20. Contingent and noncontingent Xx
interests in estate of a decedent,
death benefit plan, life insurance
policy, or trust.

21. Other contingent and unliquidated X
claims of every nature, including
tax refunds, counterclaims of the
debtor, and rights to setoff claims.
Give estimated value of each.

 

Sub-Total > 0.00
(Total of this page)

Sheet 1 of 2 _ continuation sheets attached

to the Schedule of Personal Property:

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B6B (Official Form 6B) (12/07) - Cont.

 

 

 

 

In re AT EMERALD, LLC Case No. 14-50331
Debtor
SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)
N Husband, Current Value of
Type of Property q Description and Location of Property ite, or pe ethout Deducting coy
E Community Secured Claim or Exemption
22. Patents, copyrights, and other X
intellectual property. Give
particulars.
23. Licenses, franchises, and other X
general intangibles. Give
particulars.
24. Customer lists or other compilations X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor
by individuals in connection with
obtaining a product or service from
the debtor primarily for personal,
family, or household purposes.
25. Automobiles, trucks, trailers, and X
other vehicles and accessories.
26. Boats, motors, and accessories. xX
27. Aircraft and accessories. X
28. Office equipment, furnishings, and X
supplies.
29. Machinery, fixtures, equipment, and X
supplies used in business.
30. Inventory. X
31. Animals. X
32. Crops - growing or harvested. Give X
particulars.
33. Farming equipment and X
implements.
34, Farm supplies, chemicals, and feed. x
35. Other personal property of any kind X

Sheet _2

not already listed. Itemize.

to the Schedule of Personal Property

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of 2 _ continuation sheets attached

 

Sub-Total > 0.00
(Total of this page)
Total>  200,000,200.00

(Report also on Summary of Schedules)

Best Case Bankruptcy
Case 14-50331-gs Doc1-1 Entered 03/04/14 15:27:53 Page 12 of 32

B6D (Official Form 6D) (12/07)

In re AT EMERALD, LLC

 

Debtor

Case No.

14-50331

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of

the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provide

a

if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and

other security interests.

List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".

If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)

Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.

Os Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C | Husband, Wife, Joint, or Community C}UyD AMOUNT OF
' AME fe) OJ NII
AND MAILING ADDRESS e (4 DATE CLAIM WAS INCURRED, tre WatouT UNSECURED
WelupRGaipcope, fe") NATUREOF LIEN AN,” Y72]6) tbuicins | FORTGN
ANY
a oN NDS O]c OF PROPERTY SLE] gALUE OF
(See instructions above.) SUBJECT TO LIEN Eo RAI
Account No, ONE EMERALD "TE
PROMISSORY NOTE D
JOHN BEACH PLEDGE AND SECURITY AGREEMENT
C/O BRYCE C. ALSTEAD, ESQ.
HOLLAND & HART .
5441 KIETZKE LANE, 2ND FLOOR
RENO, NV 89511
Value $ 200,000,000.00 540,000.00 0.00
Account No.
BRYCE C. ALSTEAD, ESQ. Representing:
HOLLAND & HART JOHN BEACH Notice Only
5441 KIETZKE LN., 2ND FLOOR
RENO, NV 89511
Value $
Account No.
Value $
Account No.
Value $
Subtotal
0 continuation sheets attached (Total of this page) 540,000.00 0.00
Total 540,000.00 0.00

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(Report on Summary of Schedules)

 

 

 

Best Case Bankruptcy

 
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B6E (Official Form 6E) (4/13)

In re AT EMERALD, LLC Case No. 14-50331
Debtor

 

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled “Unliquidated." If the claim is disputed, place an "X" in the column labeled
"Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
"Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
total also on the Statistical Summary of Certain Liabilities and Related Data.

WM Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

O Domestic support obligations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).
0 Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
trustee or the order for relief. 11 U.S.C. § 507(a)(3).
CI Wages, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
O Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
OO Certain farmers and fishermen

Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

CJ Deposits by individuals

Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
delivered or provided. 11 U.S.C. § 507(a)(7).

OJ Taxes and certain other debts owed to governmental units
Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

O Commitments to maintain the capital of an insured depository institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

(1 Claims for death or personal injury while debtor was intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

0 continuation sheets attached

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B6F (Official Form 6F) (12/07)

In re AT EMERALD, LLC Case No. 14-50331
Debtor

 

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

Lf any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,” include the entity on the appropriate
schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community.”

If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Os Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR'S N AME, 6 Husband, Wife, Joint, or Community 6 N P
INCLUDING iP CODE ah DATE CLAIM WAS INCURRED AND." Ur |
AND ACCOUNT NUMBER B)}| CONSIDERATION FOR CLAIM. IF CLAIM 11, )9/¥1 aytouNT OF CLAIM
See i ‘ons ab ol? IS SUBJECT TO SETOFF, SO STATE. NTP
(See instructions above.) RI¢ E|b|b
Account No. UNPAID RENT T r
D
SARASOTA VAULT
640 SOUTH WASHINGTON BVD., STE. -
125
SARASOTA, FL 34236
1,200.00
Account No.
Account No.
Account No.
Subtotal
0 __ continuation sheets attached (Total of this page) 1,200.00
Total
(Report on Summary of Schedules) 1,200.00

 

 

 

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B6G (Official Form 6G) (12/07)

In re AT EMERALD, LLC Case No. 14-50331
Debtor

 

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
of debtor's interest in contract, i.c., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
complete mailing addresses of all other parties to each lease or contract described. Ifa minor child is a party to one of the leases or contracts,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

Wi Check this box if debtor has no executory contracts or unexpired leases.

 

Maili luding Zi Description of Contract or Lease and Nature of Debtor's Interest.
Name and Mailing Address, Including Zip Code, tate whether lease is for nonresidential real property.
of Other Parties to Lease or Contract State contract number of any government contract.

 

0
continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)

In re AT EMERALD, LLC Case No. 14-50331
Debtor

 

SCHEDULE H - CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
by the nondebtor spouse during the eight years immediately preceding the commencement of this case. Ifa minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
MI Check this box if debtor has no codebtors.

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

 

0
continuation sheets attached to Schedule of Codebtors

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B6 Declaration (Official Form 6 - Declaration). (12/07)
United States Bankruptcy Court
District of Nevada

Inre _AT EMERALD, LLC CaseNo. _14-50331
Debtor(s) Chapter 11

 

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the MANAGING MEMBER of the corporation named as debtor in this case, declare under penalty of
perjury that I have read the foregoing summary and schedules, consisting of _11 sheets, and that they are true and
correct to the best of my knowledge, information, and belief.

Date March _5, 2014 Signature /s! ANTHONY THOMAS
ANTHONY THOMAS
MANAGING MEMBER

 

 

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

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B7 (Official Form 7) (04/13)

United States Bankruptcy Court
District of Nevada

Inre _AT EMERALD, LLC CaseNo. _14-50331

 

 

Debtor(s) Chapter 11

 

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None.'Tf additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

DEFINITIONS

"In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

"Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), 31).

 

1. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
a business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

 

2. Income other than from employment or operation of business
None State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
a during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

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B7 (Official Form 7) (04/13)
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3. Payments to creditors
None — Complete a. or b., as appropriate, ard c.

a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
not filed.)

NAME AND ADDRESS DATES OF AMOUNT STILL
OF CREDITOR PAYMENTS AMOUNT PAID OWING

None b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within90 days
a immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
transfer is less than $6,225". If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other

transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)

AMOUNT
DATES OF PAID OR

PAYMENTS/ VALUE OF AMOUNT STILL
NAME AND ADDRESS OF CREDITOR TRANSFERS TRANSFERS OWING

None ¢. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
a creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
spouses whether or noi a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND AMOUNT STILL
RELATIONSHIP TO DEBTOR DATE OF PAYMENT AMOUNT PAID OWING

 

4, Suits and administrative proceedings, executions, garnishments and attachments

None aq. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
a this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT NATURE OF COURT OR AGENCY STATUS OR
AND CASE NUMBER PROCEEDING AND LOCATION DISPOSITION

None __ b. Describe all property.that has been attached, garnished or seized under any legal or equitable process within one year immediately
a preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE DESCRIPTION AND VALUE OF
BENEFIT PROPERTY WAS SEIZED DATE OF SEIZURE PROPERTY

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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5. Repossessions, foreclosures and returns

None List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
a returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

DATE OF REPOSSESSION,
NAME AND ADDRESS OF FORECLOSURE SALE, DESCRIPTION AND VALUE OF
CREDITOR OR SELLER TRANSFER OR RETURN PROPERTY

 

6. Assignments and receiverships

None a, Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
a this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DATE OF
NAME AND ADDRESS OF ASSIGNEE ASSIGNMENT TERMS OF ASSIGNMENT OR SETTLEMENT

None __ b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
a preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not

 

filed.)
NAME AND LOCATION
NAME AND ADDRESS OF COURT DATE OF DESCRIPTION AND VALUE OF
OF CUSTODIAN CASE TITLE & NUMBER ORDER PROPERTY
7. Gifts

None List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
a and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

NAME AND ADDRESS OF RELATIONSHIP TO DESCRIPTION AND
PERSON OR ORGANIZATION DEBTOR, IF ANY DATE OF GIFT VALUE OF GIFT
8. Losses

None List all losses from fire, theft, other casualty or gambling withinone year immediately preceding the commencement of this case or
a since the commencement of this case.(Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE LOSS WAS COVERED IN WHOLE OR IN PART
OF PROPERTY BY INSURANCE, GIVE PARTICULARS DATE OF LOSS

 

9, Payments related to debt counseling or bankruptcy

None List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
oO concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
preceding the commencement of this case.

DATE OF PAYMENT, AMOUNT OF MONEY

NAME AND ADDRESS NAME OF PAYER IF OTHER OR DESCRIPTION AND VALUE
OF PAYEE THAN DEBTOR OF PROPERTY

LAW OFFICES OF ALAN R. SMITH 3/4/2013 $5,000.00

505 RIDGE STREET
RENO, NV 89501

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B7 (Official Form 7) (04/13)

 

 

 

 

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10. Other transfers
None a, List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,

a transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE, DESCRIBE PROPERTY TRANSFERRED
RELATIONSHIP TO DEBTOR DATE AND VALUE RECEIVED
None bb. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
a trust or similar device of which the debtor is a beneficiary.
NAME OF TRUST OR OTHER AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE DATE(S) OF VALUE OF PROPERTY OR DEBTOR'S INTEREST
TRANSFER(S) IN PROPERTY
11. Closed financial accounts
None List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or

a otherwise transferred within one year immediately preceding the commencement of this case, Include checking, savings, or other
financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed.)

TYPE OF ACCOUNT, LAST FOUR
DIGITS OF ACCOUNT NUMBER, AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING
12. Safe deposit boxes
None —_ List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
a immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed.)
NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK OF THOSE WITH ACCESS DESCRIPTION DATE OF TRANSFER OR
OR OTHER DEPOSITORY TO BOX OR DEPOSITORY OF CONTENTS SURRENDER, IF ANY
13. Setoffs
None List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within90 days preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
NAME AND ADDRESS OF CREDITOR DATE OF SETOFF AMOUNT OF SETOFF

 

14. Property held for another person

None List all property owned by another person that the debtor holds or controls.
a

NAME AND ADDRESS OF OWNER DESCRIPTION AND VALUE OF PROPERTY LOCATION OF PROPERTY

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15. Prior address of debtor

None If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
a occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate

address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY

 

16. Spouses and Former Spouses

None —_ If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
a Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
the community property state.

NAME

 

17. Environmental Information.
For the purpose of this question, the following definitions apply:

"Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
statutes or regulations regulating the cleanup of these substances, wastes, or material.

"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
operated by the debtor, including, but not limited to, disposal sites.

"Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
pollutant, or contaminant or similar term under an Environmental Law

None a: List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
a or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
the Environmental Law:

NAME AND ADDRESS OF DATE OF ENVIRONMENTAL
SITE NAME AND ADDRESS GOVERNMENTAL UNIT NOTICE LAW
None __. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
a Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
NAME AND ADDRESS OF DATE OF ENVIRONMENTAL
SITE NAME AND ADDRESS GOVERNMENTAL UNIT NOTICE LAW

None  c, List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
|| the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT DOCKET NUMBER STATUS OR DISPOSITION

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18 . Nature, location and name of business
None a, If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
O ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time withinsix years
immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
within six years immediately preceding the commencement of this case.
If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, withinsix
years immediately preceding the commencement of this case.
If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities withinsix
years immediately preceding the commencement of this case.
LAST FOUR DIGITS OF
SOCIAL-SECURITY OR
OTHER INDIVIDUAL
TAXPAYER-LD. NO. BEGINNING AND
NAME (ITIN)/ COMPLETE EIN ADDRESS NATURE OF BUSINESS ENDING DATES
AT EMERALD, LLC 7725 PEAVINE PEAK HOLDING COMPANY 12/2001 - PRESENT
COURT
RENO, NV 89523
None _ b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
a
NAME ADDRESS

 

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

 

19. Books, records and financial statements

None _q, List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or

a supervised the keeping of books of account and records of the debtor.
NAME AND ADDRESS DATES SERVICES RENDERED
None __ b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
a of account and records, or prepared a financial statement of the debtor.
NAME ADDRESS DATES SERVICES RENDERED
None _c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
a of the debtor. If any of the books of account and records are not available, explain.
NAME ADDRESS
None  d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
a issued by the debtor within two years immediately preceding the commencement of this case.
NAME AND ADDRESS DATE ISSUED

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20. Inventories

None a List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
a and the dollar amount and basis of each inventory. |

DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY INVENTORY SUPERVISOR (Specify cost, market or other basis)

None __b, List the name and address of the person having possession of the records of each of the inventories reported in a., above.

NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY RECORDS

 

21 . Current Partners, Officers, Directors and Shareholders

None a, If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.

a
NAME AND ADDRESS NATURE OF INTEREST PERCENTAGE OF INTEREST
None __, If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
Oo controls, or holds 5 percent or more of the voting or equity securities of the corporation.
: NATURE AND PERCENTAGE
NAME AND ADDRESS TITLE OF STOCK OWNERSHIP
ANTHONY THOMAS MANAGING MEMBER 100%
7725 PEAVINE PEAK COURT

RENO, NV 89523

 

22 . Former partners, officers, directors and shareholders

None —_q. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the

@ ~—s commencement of this case.
NAME ADDRESS DATE OF WITHDRAWAL
None _, If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
a immediately preceding the commencement of this case.
NAME AND ADDRESS TITLE DATE OF TERMINATION

 

23 . Withdrawals from a partnership or distributions by a corporation

None —_[f the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
am in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
commencement of this case.

NAME & ADDRESS AMOUNT OF MONEY
OF RECIPIENT, DATE AND PURPOSE OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR OF WITHDRAWAL VALUE OF PROPERTY

 

24. Tax Consolidation Group.

None If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated

a group for tax purposes of which the debtor has been a member at any time withinsix years immediately preceding the commencement
of the case.
NAME OF PARENT CORPORATION TAXPAYER IDENTIFICATION NUMBER (EIN)

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25. Pension Funds.

None If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
a employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND TAXPAYER IDENTIFICATION NUMBER (EIN)

KR KKK K

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DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I declare under penalty of perjury that I have read the.answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct to the best of my knowledge, information and belief.

Date March 5, 2014 Signature _/s/ ANTHONY THOMAS
ANTHONY THOMAS
MANAGING MEMBER

 

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571

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United States Bankruptcy Court
District of Nevada

Inre _AT EMERALD, LLC Case No. 14-50331
Debtor(s) Chapter 11

 

 

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

 

 

For legal services, I have agreed to accept $ 5,000.00
Prior to the filing of this statement I have received $ 5,000.00
Balance Due $ 0.00

 

2. $ 1,213.00 of the filing fee has been paid.

3. | The source of the compensation paid to me was:

@ Debtor O Other (specify):

4. The source of compensation to be paid to me is:

@ Debtor C1 Other (specify):
5. Wi I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

0 [have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.  Inreturn for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

. [Other provisions as needed]

aes

7. By agreement with the debtor(s), the above-disclosed fee does not include the following service:

 

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated: March 5, 2014 isi ALAN R. SMITH, ESQ.
ALAN R. SMITH, ESQ.
THE LAW OFFICES OF ALAN R. SMITH
505 RIDGE STREET
RENO, NV 89501-1719
(775) 786-4579 Fax: (775) 786-3066
mail@asmithlaw.com

 

 

 

 

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United States Bankruptcy Court
District of Nevada

In re AT EMERALD, LLC Case No. 14-50331
Debtor

 

Chapter. 11

LIST OF EQUITY SECURITY HOLDERS

Following is the list of the Debtor's equity security holders which is prepared in accordance with Rule 1007(a)(3) for filing in this chapter 11 case.

 

 

Name and last known address Security Number Kind of
or place of business of holder Class of Securities Interest
None

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the MANAGING MEMBER of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.

Date___March_ 5, 2014 Signature_/s/ ANTHONY THOMAS
ANTHONY THOMAS
MANAGING MEMBER

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C §§ 152 and 3571.

0 continuation sheets attached to List of Equity Security Holders

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United States Bankruptcy Court
District of Nevada

Inre _AT EMERALD, LLC Case No. _14-50331

 

Debtor(s) Chapter 11

 

VERIFICATION OF CREDITOR MATRIX

I, the MANAGING MEMBER of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.

Date: March 5, 2014 Is! ANTHONY THOMAS
ANTHONY THOMAS/MANAGING MEMBER
Signer/Title

 

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AT EMERALD, LLC
7725 PEAVINE PEAK COURT
RENO, NV 89523

ALAN R. SMITH, ESQ.

THE LAW OFFICES OF ALAN R. SMITH
505 RIDGE STREET

RENO, NV 89501-1719

INTERNAL REVENUE SERVICE
STOP 5028

110 CITY PARKWAY

LAS VEGAS, NV 89106

NEVADA DEPT TAXATION
P.O. BOX 52685
PHOENIX, AZ 85072-2674

NEVADA EMPLOYMENT SEC
500 .E. THIRD STREET
CARSON CITY, NV 89713-0030

NV DEPT OF MOTOR VEHICLES
BANKRUPTCY SECTION

555 WRIGHT WAY

CARSON CITY, NV 89711-0001

NV LABOR COMMISSION
675 FAIRVIEW LANE, STE 226
CARSON CITY, NV 89710-5474

OFFICE OF THE U.S. TRUSTEE
300 BOOTH STREET, RM. 3009
RENO, NV 89509-1362

I.R.S.-BK. PHILADELPHIA
PO BOX 7346
PHILADELPHIA, PA 19101-7346

WASHOE COUNTY TREASURER
PO BOX 30039
RENO, NV 89520-3039

NV DEPT OF TAXATION
BANKRUPTCY DIVISION
4600 KIETZKE LANE
SUITE L-235

RENO, NV 89502

BRYCE C. ALSTEAD, ESQ.
HOLLAND & HART

5441 KIETZKE LN., 2ND FLOOR
RENO, NV 89511
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JOHN BEACH

C/O BRYCE C. ALSTEAD, ESQ.
HOLLAND & HART

5441 KIETZKE LANE, 2ND FLOOR
RENO, NV 89511

SARASOTA VAULT
640 SOUTH WASHINGTON BVD., STE. 125
SARASOTA, FL 34236
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United States Bankruptcy Court
District of Nevada
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CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification
or recusal, the undersigned counsel for _ATEMERALD, LLC _ in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

@ None [Check if applicable]

March 5, 2014 Is! ALAN R. SMITH, ESQ.
Date ALAN R. SMITH, ESQ.

Signature of Attorney or Litigant
Counsel for AT EMERALD, LLC

THE LAW OFFICES OF ALAN R. SMITH
505 RIDGE STREET

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